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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

SCOTT LOUIS PANETTI,                  §
             Petitioner,              §
                                      §
v.                                    §
                                      §         CIV. NO. 1:04-cv-00042-RP
BOBBY LUMPKIN, Director,              §         (Death Penalty Case)
Texas Department of Criminal          §
Justice, Correctional Institutions    §
Division,                             §
                  Respondent.         §




                RESPONDENT’S UNOPPOSED MOTION
                    TO SUBSTITUTE COUNSEL

      This is a federal habeas case. Petitioner Scott Panetti is a Texas state

inmate under a sentence of death. Respondent Director Bobby Lumpkin is Mr.

Panetti’s custodian. This case has been reassigned to the undersigned

assistant attorney general who will now be representing the Director in this

proceeding. Thus, the Director moves to permit Rachel Patton to withdraw as

counsel of record for the Director and substitute the undersigned in her place.

This substitution request is not designed or intended to harass Mr. Panetti or

to delay this proceeding. Any future documents should be sent to the same

address (if physically delivered) or to the undersigned’s email address (if

electronic).
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                              CONCLUSION

      The Director respectfully requests that the Court allow Rachel Patton to

withdraw as counsel and substitute the undersigned as counsel of record for

the Director.

                                    Respectfully submitted,

                                    KEN PAXTON
                                    Attorney General of Texas

                                    BRENT WEBSTER
                                    First Assistant Attorney General

                                    JOSH RENO
                                    Deputy Attorney General
                                    For Criminal Justice

                                    EDWARD L. MARSHALL
                                    Chief, Criminal Appeals Division

                                    s/ Ali M. Nasser
                                    ALI M. NASSER
                                    Assistant Attorney General
                                    Counsel of Record
                                    State Bar No. 24098169

                                    Post Office Box 12548, Capitol Station
                                    Austin, Texas 78711
                                    Tel: (512) 936-2134
                                    Ali.Nasser@oag.texas.gov

                                    Counsel for Respondent




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                    CERTIFICATE OF CONFERENCE

      I certify that, on November 17, 2021, I conferred through electronic mail
with Mr. Panetti’s counsel, Gregory Wiercioch, about this motion, and he
stated that he was unopposed to it.

                                     s/ Ali M. Nasser
                                     ALI M. NASSER
                                     Assistant Attorney General


                       CERTIFICATE OF SERVICE

       I do hereby certify that on November 17, 2021, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Western District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
the following counsel of record, who consented in writing to accept the NEF as
service of this document by electronic means:

Gregory W. Wiercioch
University of Wisconsin Law School
975 Bascom Mall
Madison, WI 53706
832-741-6203
wiercioch@wisc.edu
                                     s/ Ali M. Nasser
                                     ALI M. NASSER
                                     Assistant Attorney General




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